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Orr. Meoonp ;

FD-302 (Rew. 3-8-10)

 

FEDERAL BUREAU OF INVESTIGATION

Date of entry ge ystty tga?
DOCUMENT RESTRICTED TO CAS# PARTICIPANTS
This dewument contains information that ie restricted ta cage participants.

(U/ fFOUO) FBT Deputy Assistant Director (DAD) Peter BP, Strack was
interviewed in his office in the Special Counsel's Office in Washington 0,
: Participating in the interview were Senior Assistant Special Counsel
2k F821 Supervisory Special Agent [ERM t>-
purpose of the interview was ta collect certain information reqgareling

of what has hecome the Speciai

a.

Btrzok's involvement in various aspects
Conneelts investigation. Strzok provided the following information:

| | Ag FBT Counterintelligence DAD, Stxzok had involvement in
Ssveral FRI investigations which were snbsequently taken over by the
Special Counsel. Specifically, FBI investigations reqarding then-National

Security Acwiser, General Michael Flynn:

ern &t various times, Straak and the BOUOL CANE
piieied Deputy Attorney General/Acting Attorney Genéral Sally Yates and

other DO? representatives on the entire span of the FBI's Russian election
interference /cellusion investigations.

 
   

   

(Uf (EUS)

 
 
 
 

 

CRG

: actorneys, up to Acting NSD

 

TRIER EES EA Aa Oy SSL f it &
Assiatant Attorney General Mary MoCord.

 

 

 

Tas

Washington, District Of Columbia, United States (in
Invesngationan PALE 7 a Paracn)

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This document containy neither recommendations nor conclusions of the FRI ih is the property of the FRY and by ioaned to your ageiey. it nad ibs contents are HOt

to be distributed outside your agency.

 

 

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PD.302e (Rev. 05-08-10)

DAD Feter PF. Strrik interview tm GFALGZIDOLT tay, 2 OE

 

 

 

 

(O/ /Fo0o) On danuary f4, DOE?, Mec paok ¢
Flynn, Nelabe called Flynn at J2:30 p.m. and Fiynn ager
interviewec| that day at 2:30 p.m, MoCahe may have documenres
, the Literview,
chances ta

  

 

conversation. Comey was qaing to breil

but she called him first for ancther x

 

DOJSCO-70002 1202
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FD-3024 (Rev. 03-08-18)

Contatuation of PD-Gog op (E/ 7 FOUG) BAD Peter B. Streck interview On BPYLSSLOL? pe, 3 af 8
call. When he told her the FBI was interviewing Flynn she was pet
happy.

(U//FOUG) Styzok and FRI SSA BRM) bis interview partner, got
acueses to the White House with the assistance of an FBI White House
detallee, Flynn met them at about 2:15, which was earlier than

aqresd, Fiynn was alone and "relaxed and jocular." Ne wanted ta give
them a Little tour of the area around his office. During. their walk
through the Weet Wing, President Trump and some movers who were discussing
where to place some art work walked between Strzok and QBRP but nobody
paid attention ta the agents. Fiynn did not introduce them to anyone.

{0/7 /FOUG) Refore the interview, MoCabe, FBI General Counsel James Baker
and others decided the agents would not warn Flynn that it was a crime to
lie during an FBI interview hevause they wanted Flynn to be relaxed, and
they were concerned that giving the warnings might adversely affect the
Lappart.

(0/7 /FOUG) Flynn was unguarded and clearly saw the FRI agents as
@llies., He talked about various subjects, including hotels where they
atayed during the campaign and the President's knack for interior
design. He talked about the long hours of the job and complained about
the politics surrounding it, but Flynn always seemed to work his way to
the subject of terrarigm. Fiynn wags so talkative, and had sea much Cime
for them, that Strack wondered if the National Security Adviser did not
have more important things to do than have such a relaxed, non-pertinent
digcussion with them.

it was decided before the interview the agents

  
   

 

      
   

     

C YES SEL LGD fee Ob e Te LOH Leconte GEe Mey WOULG Lse

the exact words Flynn used, such as emer nenaraann te try to refresh his
secolblection. Ff Flynn still would Tear cant nat he said :

, they would net confront him or talk him through it

 

(U//FOUO) Strgek conducted the interview and 9M was primarily
respensibie for taking notes and writing the FD-302.

(U/ #POUO} Throughout the interview, Fiynn had a very "sure" demeanor and
Gid not give any indicators of deception, He did net parse his words or
hesitate in any of his anewerg, He only hedged once, which they

:

DOISCO-700021203
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ED-302a (Rev. 05-08-03

Contumation of Fig? ar (US 7 FOU0} DAD Peter FP, Streak interview (On S2fLE/2017 ye 4 ES

 

documented in the 302. Serzok and both had the impression at the
time that Flynn waa not lying or did not think he was lying. Flynn struck
Streok as “bright, but not profoundly sophisticated."

 

(Q/ /FOUO} The agente left Flynn in a collegial, positive way. There was
no Aiecussion of follow-up.

(Us FOUR) Strzok and QRRBreturned to Par Headquarters and briefed
MoCabe and Baker on the interview. McCabe briefed Comey. Styeok was
avave that Baker and Principal Associate Deputy Attorney General Matt
aMelyocd Later argued about the PRI's decision to interview Flynn.

(U/ /FOUS) Shortiy after the interview, Yates and MeCord briefed White
House staff on the Flynn calls.

 

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FD-202n (Rev, 05-08-10)

Contmumionof F302 of (Ue /EOUO) DAL Pater BP, Styzak interview (oq, O7/L9/2017  paye 8 of S

 

 

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